                                                                                                            Electronically Filed - St Louis County - January 28, 2022 - 07:52 PM
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                                                                                22SL-CC00720

                    IN THE CIRCUIT COURT OF THE COUNTY OF ST. LOUIS
                                    STATE OF MISSOURI


DORIS POLANSKY,                                )
     Plaintiff                                 )       Cause No.: ___________________
                                               )
Vs.                                            )       Division: _________
                                               )
MENARD, INC., d/b/a MENARDS, and               )
                                               )
JOHN DOE                                       )
     Defendants.                               )

      MOTION FOR ISSUANCE OF SUMMONS AND USE OF SPECIAL PROCESS SERVER

         COMES NOW Doris Polansky by and through undersigned counsel and for her cause of

action states as follows:

      1. Plaintiff respectfully requests the Court issue a Summons for Defendant Menards.

      2. Plaintiff requests the Court permit Plaintiff time to conduct adequate discovery so as to

identify Defendant John Doe. Upon this discovery, Plaintiff will seek issuance of Summons for

that Defendant at a later date.

      3. Plaintiff requests the Court permit the Plaintiff to utilize Harmon Legal Process Service as

the Special Process Server to effectuate service of the Summons, Petition, and discovery upon

Defendant Menards Registered Agent:

                 Lawyers Incorporating Service
                 221 Bolivar Street
                 Jefferson City, MO 65101

      4. Harmon Legal Process Service has provided successful and professional services in other

civil matters before this Court. Their contact information is: PO Box 1794, Jefferson City, MO

65101, 573.635.6690.

      WHEREFORE, Plaintiff prays this Court will issue a Summons for Defendant Menards and

permit Plaintiff to utilize Rufus Harm of Harmon Legal Process Service to effectuate said service

and such other further relief as the Court deems proper.




                                                                                                        A
                                                                                Electronically Filed - St Louis County - January 28, 2022 - 07:52 PM
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                       __/s/ Alexander A. Wolff ___
                       Alexander A. Wolff #64247
                       Morgan & Morgan, PA
                       200 N. Broadway
                       Suite 700
                       St. Louis, MO 63102
                       314.955.1045 Direct
                       314.955.1069 Fax
                       alexwolff@forthepeople.com

                        ATTORNEYS FOR PLAINTIFF




    SO ORDERED: __________________________ Date: _________________
                                                                                                       Electronically Filed - St Louis County - January 28, 2022 - 07:52 PM
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                                                                                22SL-CC00720
                    IN THE CIRCUIT COURT OF THE COUNTY OF ST. LOUIS
                                    STATE OF MISSOURI

DORIS POLANSKY,                         )
     Plaintiff                          )             Cause No.: ___________________
                                        )
Vs.                                     )             Division: _________
                                        )
MENARD, INC., d/b/a MENARDS, and        )
     Serve: Lawyers Incorporating Serv. )
     221 Bolivar Street.                )
     Jefferson City, MO 65101           )
                                        )
and                                     )
                                        )
JOHN DOE                                )
     Defendants.                        )
     (Hold Service)                     )

                                PETITION FOR PERSONAL INJURY

       COMES NOW Doris Polansky by and through undersigned counsel and for her cause of

action states as follows:

                                       GENERAL ALLEGATIONS

       1.      Plaintiff Doris Polansky is a resident of the State of Missouri, County of St. Louis.

       2.      Defendant Menard Inc. (d/b/a Menards) is a for profit corporation which owns and

maintains the property located at 1700 S. Hanley Road, St. Louis, Missouri. Defendant Menards does

business in the County of St. Louis.

       3.      The acts and omissions described in this Petition were performed by agents, servants,

employees, and contractors acting in the scope of business interest per their relationship with

Defendant Menards.

       4.      At all relevant times, Defendant John Doe, presumed to be a resident of St. Louis

County, was an employee or contractor of Menards at the location identified above acting within the

course and scope of his employment/contract with Defendant Menards.

       5.      At all relevant times, Plaintiff was an invitee of the aforesaid premises.

       6.      On May 14, 2021, Plaintiff Polansky was a customer at Defendant Menards and sought

help from Defendant John Doe to place a larger item into her shopping cart.
                                                                                                            Electronically Filed - St Louis County - January 28, 2022 - 07:52 PM
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        7.      After obtaining the item, Plaintiff Polansky desired to walk towards the checkout to pay

for her purchase and obtain help in loading it into her car.

        8.      In order to reach the registers, Plaintiff was required to change floors.

        9.      Plaintiff Polansky asked Defendant Doe for assistance in locating the elevator.

        10.     Instead of offering assistance to find the elevator, Defendant Doe took control of the

82 year old Plaintiff’s shopping cart and pushed it onto the escalator and instructed Plaintiff to use

the escalator instead of the elevator.

        11.     Plaintiff attempted to follow her cart with her goods in it, which was traveling without

her.

        12.     Towards the end of the escalator, Plaintiff caught up to her shopping cart.

        13.     When Plaintiff and the cart reached the end of the escalator Plaintiff was caused to fall

off the escalator onto the concrete floor.


                                      COUNT I – PREMISES LIABILITY

                               DIRECTED TO DEFENDANT MENARDS

        14.     Plaintiff restates and incorporates Paragraphs 1- 13 as if fully stated herein.

        15.     Upon information and belief, the dangerous condition of the escalator’s function when

patrons used carts on the escalator was a known hazard to Defendant Menards.

        16.     Upon information and belief, Defendant Menards has been made aware of many other

similar incidents involving customers and shopping carts on its escalators but failed to warn Plaintiff

and other such patrons of the danger of using a shopping cart on the escalator, nor remedy the hazard

in advance of Plaintiff’s incident.

        17.     Unbeknownst to Plaintiff at the time, Defendant Menards was aware of this

foreseeable risk to herself and others.

        18.     Unbeknownst to Plaintiff, Defendant Menards was aware of the dangerous condition

created by Defendant Menards encouraging and expecting patrons to use shopping carts on the

escalator.
                                                                                                               Electronically Filed - St Louis County - January 28, 2022 - 07:52 PM
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       19.      Plaintiff had no way of knowing of the hazardous and dangerous condition of the

escalator existed.

       20.      The aforementioned conditions had existed for a sufficient length of time so that

Defendant Menards knew, or in the exercise of ordinary care, should have known of same in time to

have remedied said conditions before Plaintiff’s injuries.

       21.      Defendant Menards was negligent by and through the acts and omissions of its agents

and employees in the following ways:

             a. Allowed for an escalator to remain in its store that functioned in such a way that created

                a danger to patrons when shopping carts reached the bottom of the escalator,

                requiring the patron to apply pushing force to get it off of the moving walkway.

             b. Failed to warn Plaintiff and other patrons of known hazards of use of a shopping cart

                on the escalator; and

             c. Failed to correct the known hazards that created dangerous conditions for Plaintiff, in

                advance of her patronage of the Defendants’ location on May 14, 2021.

       22.      As a direct and proximate result of the negligence and carelessness of Defendant

Menards’ policies, Plaintiff was caused to sustain painful and traumatic injuries to her right wrist.

       23.      The injury is debilitating, ongoing, and has altered Plaintiff’s lifestyle and abilities and

will continue to do so for the foreseeable future.

       24.      Plaintiff has lost function and strength in the use of her dominant hand, has had to

alter her lifestyle and continues to suffer physical pain and general anxiety caused by this incident.

       WHEREFORE, Plaintiff prays for a judgment against Defendant Menards in an amount in

excess of $25,000, together with her costs, and such other further relief as the Court deems proper.



                          COUNT II – NEGLIGENT HIRING AND TRAINING

                               DIRECTED TO DEFENDANT MENARDS

       25.      Plaintiff restates and incorporates Paragraphs 1- 24 as if fully stated herein.
                                                                                                               Electronically Filed - St Louis County - January 28, 2022 - 07:52 PM
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        26.        Plaintiff relied upon the assistance of the employees/contractors and believed

Defendant Menards would act reasonably in training its employees/contractors on patron safety.

        27.        After obtaining the larger item she wished to purchase, Plaintiff specifically asked

Defendant John Doe to assist her in locating the elevator so she could return to the first floor of the

facility to complete her purchase.

        28.        Defendant Doe instead encouraged Plaintiff to use the escalator and then moved

Plaintiff’s cart to the escalator and told her it would “roll off” at the end.

        29.        Defendant Menards negligently trained its employees in the following respects:

              a. Failed to train employees to direct patrons to the elevators upon request;

              b. Failed to warn patrons of the dangers of using a shopping cart on the escalator;

              c. Failed to train employees to assist patrons with shopping carts on the escalator if it

                   appeared the patron needed assistance;

              d. Failed to train employees to alert patrons of the need to apply extra force to shopping

                   carts at the bottom of the escalator to exit the escalator;

              e. Failed to train employees to limit the weight of items in patrons’ shopping cart taken

                   on the escalator;

              f.   Failed to train employees that it would be inappropriate for an employee/contractor to

                   take control of a patron’s shopping cart and place it on the escalator without permission

                   from the patron;

              g. Identification and appropriate assistance offered to elderly or disabled patrons and

                   additional safety precautions that may be utilized;

              h. Knowledge of the prior similar incidents and what to watch for, warn of, and attempt to

                   prevent future incidents such as the one Plaintiff had to suffer; and

              i.   Location of the elevators for patron usage.
                                                                                                               Electronically Filed - St Louis County - January 28, 2022 - 07:52 PM
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        30.     As a direct and proximate result of these failures in education and training, Defendant’s

employee/contractor took Plaintiff’s shopping cart and pushed it onto the escalator without Plaintiff’s

consent.

        31.     As a direct and proximate result of Defendant John Doe’s actions, Plaintiff suffered

physical injury to her right wrist and general anxiety.

        32.     The injury is debilitating, ongoing, and has altered Plaintiff’s lifestyle and abilities and

will continue to do so for the foreseeable future.

        33.     Plaintiff has lost function and strength in the use of her dominant hand, has had to

alter her lifestyle and continues to suffer physical pain and general anxiety caused by this incident.

        WHEREFORE, Plaintiff prays for a judgment against Defendant Menards in an amount in

excess of $25,000, together with her costs, and such other further relief as the Court deems proper.

                                      COUNT III – NEGLIGENCE

                               DIRECTED TO DEFENDANT JOHN DOE

        34.     Plaintiff restates and incorporates Paragraphs 1- 33 as if fully stated herein.

        35.     Plaintiff Polansky recalls that Defendant John Doe is an older, Caucasian male with a

thin physical build.

        36.     On May 14, 2021, Defendant John Doe helped Plaintiff obtain an item from a shelf on

the second floor and load it into her shopping cart.

        37.     Plaintiff then asked Defendant Doe to direct her to the elevator so she may complete

her purchase at the register downstairs.

        38.     Defendant Doe said she should use the nearby escalator instead, and grabbed her

cart from the back end, shoving it onto the conveyor belt/escalator without her.

        39.     Defendant Doe offered no information about the elevator.

        40.     Defendant Doe provided no warnings to Plaintiff on the dangers associated with using

the escalator with a shopping cart.
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        41.        Defendant Doe did not obtain her consent to pull her cart away from her and pushed

it onto the escalator.

        42.        Upon information and belief, Defendant Doe was at all times relevant acting within the

course and scope of his employment/agency with Defendant Menards.

        43.        Upon information and belief, Defendant Doe had knowledge of the prior similar

incidents of shopping carts creating hazards at the bottom of the escalator, causing injuries.

        44.        Defendant Doe was negligent in the following ways:

              a. Failed to warn Plaintiff of the hazards associated with shopping cart use on the

                   escalator;

              b. Moved Plaintiff’s cart away from her and onto the escalator without consent;

              c. Failed to direct Plaintiff to the elevator, as requested by Plaintiff;

              d. Failed to offer any instruction on use of the escalator with a shopping cart;

              e. Was careless and inattentive to the needs and requests of the 82 year old Plaintiff who

                   he had already assisted and had advance notice that she required assistance; and

              f.   Failed to appreciate Plaintiff’s concerns and anxiety over use of the escalator instead

                   of the elevator that she had requested.

        45.        As a direct and proximate result of Defendant Doe’s aforementioned negligence,

Plaintiff suffered injury to her right wrist.

        46.        Plaintiff’s dominant hand injury is debilitating, ongoing, and has altered Plaintiff’s

lifestyle and abilities.

        47.        Plaintiff has lost function and strength in the use of her dominant hand, has had to

alter her lifestyle and continues to suffer physical pain and general anxiety caused by this incident.

        WHEREFORE, Plaintiff prays for a judgment against Defendant John Doe in an amount in

excess of $25,000, together and costs, and such other further relief as the Court deems proper.
                                                                                 Electronically Filed - St Louis County - January 28, 2022 - 07:52 PM
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                       __/s/ Alexander A. Wolff ___
                       Alexander A. Wolff #64247
                       Morgan & Morgan, PA
                       200 N. Broadway
                       Suite 700
                       St. Louis, MO 63102
                       314.955.1045 Direct
                       314.955.1069 Fax
                       alexwolff@forthepeople.com

                       ATTORNEYS FOR PLAINTIFF
                                                                                                                                    Electronically Filed - St Louis County - February 07, 2022 - 10:16 AM
              Case: 4:22-cv-00368-MTS Doc. #: 1-1 Filed: 03/30/22 Page: 10 of 23 PageID #: 16

In the
CIRCUIT COURT                                                                                   ┌                               ┐
                                                                                                        For File Stamp Only
Of St. Louis County, Missouri
                                                         February 7, 2022
                                                        _________________________
 Doris Polansky
__________________________________________              Date
Plaintiff/Petitioner
                                                         22SL-CC00720
                                                        _________________________
                                                        Case Number
vs.
                                                         14
                                                        _________________________
 Menard, Inc.
__________________________________________              Division

                                                                                                └                               ┘
Defendant/Respondent




                       REQUEST FOR APPOINTMENT OF PROCESS SERVER
        Comes now _______________________________________________________,
                   Plaintiff Polansky                                      pursuant
                                               Requesting Party
        to Local Rule 28, and at his/her/its own risk requests the appointment of the Circuit Clerk of
        ___________________________________________________________________________
         Harmon Legal Process Service - PO Box 1794, Jefferson City, MO 65101 - 573.635.6690
        Name of Process Server                         Address                                                      Telephone

        ___________________________________________________________________________
        Name of Process Server                         Address or in the Alternative                                Telephone

        ___________________________________________________________________________
        Name of Process Server                         Address or in the Alternative                                Telephone

        Natural person(s) of lawful age to serve the summons and petition in this cause on the below
        named parties. This appointment as special process server does not include the authorization
        to carry a concealed weapon in the performance thereof.

        SERVE:                                                       SERVE:
         Menard, Inc. c/o Lawyers Incorporating Service
        ____________________________________________                 ____________________________________________
        Name                                                         Name
         221 Bolivar Street
        ____________________________________________                 ____________________________________________
        Address                                                      Address
         Jefferson City, MO 65101
        ____________________________________________                 ____________________________________________
        City/State/Zip                                               City/State/Zip

        SERVE:                                                       SERVE:
        ____________________________________________                 ____________________________________________
        Name                                                         Name
        ____________________________________________                 ____________________________________________
        Address                                                      Address
        ____________________________________________                 ____________________________________________
        City/State/Zip                                               City/State/Zip

        Appointed as requested:
        JOAN M. GILMER, Circuit Clerk                                 /s/ Alexander Wolff
                                                                     ___________________________________________
                                                                     Signature of Attorney/Plaintiff/Petitioner
                                                                      64247
                                                                     ___________________________________________
        By ________________________________________                  Bar No.
            Deputy Clerk                                             ___________________________________________
                                                                      220 N. Broadway, Suite 720, St. Louis MO 63102
                                                                     Address
             February 7, 2022
        ___________________________________________                   (314) 955-1045
                                                                     ___________________________________________
        Date                                                         Phone No.                                   Fax No.


        CCADM62-WS         Rev. 07/19
                                                                                                                                            Electronically Filed - St Louis County - February 07, 2022 - 10:16 AM
              Case: 4:22-cv-00368-MTS Doc. #: 1-1 Filed: 03/30/22 Page: 11 of 23 PageID #: 17

In the
CIRCUIT COURT                                                                                           ┌                               ┐
                                                                                                                For File Stamp Only
Of St. Louis County, Missouri
                                                                February 7, 2022
                                                               _________________________                               FILED
 Doris Polansky
__________________________________________                     Date                                                  02/24/22
                                                                                                                     02/12/16
Plaintiff/Petitioner                                                                                              JOAN M. GILMER
                                                                22SL-CC00720
                                                               _________________________                           CIRCUIT CLERK
                                                               Case Number                                    ST. LOUIS COUNTY, MO
vs.
                                                                14
                                                               _________________________
 Menard, Inc.
__________________________________________                     Division

                                                                                                        └                               ┘
Defendant/Respondent




                       REQUEST FOR APPOINTMENT OF PROCESS SERVER
        Comes now _______________________________________________________,
                   Plaintiff Polansky                                      pursuant
                                                      Requesting Party
        to Local Rule 28, and at his/her/its own risk requests the appointment of the Circuit Clerk of
        ___________________________________________________________________________
         Harmon Legal Process Service - PO Box 1794, Jefferson City, MO 65101 - 573.635.6690
        Name of Process Server                                Address                                                       Telephone

        ___________________________________________________________________________
        Name of Process Server                                Address or in the Alternative                                 Telephone

        ___________________________________________________________________________
        Name of Process Server                                Address or in the Alternative                                 Telephone

        Natural person(s) of lawful age to serve the summons and petition in this cause on the below
        named parties. This appointment as special process server does not include the authorization
        to carry a concealed weapon in the performance thereof.

        SERVE:                                                               SERVE:
         Menard, Inc. c/o Lawyers Incorporating Service
        ____________________________________________                         ____________________________________________
        Name                                                                 Name
         221 Bolivar Street
        ____________________________________________                         ____________________________________________
        Address                                                              Address
         Jefferson City, MO 65101
        ____________________________________________                         ____________________________________________
        City/State/Zip                                                       City/State/Zip

        SERVE:                                                               SERVE:
        ____________________________________________                         ____________________________________________
        Name                                                                 Name
        ____________________________________________                         ____________________________________________
        Address                                                              Address
        ____________________________________________                         ____________________________________________
        City/State/Zip                                                       City/State/Zip

        Appointed as requested:
        JOAN M. GILMER, Circuit Clerk                                         /s/ Alexander Wolff
                                                                             ___________________________________________
                                                                             Signature of Attorney/Plaintiff/Petitioner
                                                                              64247
                                                                             ___________________________________________
        By ________________________________________                          Bar No.
            Deputy Clerk                                                     ___________________________________________
                                                                              220 N. Broadway, Suite 720, St. Louis MO 63102
                                                                             Address
             February 7, 2022
        ___________________________________________                           (314) 955-1045
                                                                             ___________________________________________
        Date                                                                 Phone No.                                   Fax No.


        CCADM62-WS         Rev. 07/19

                                        Judge
                                        Judge               Division 14
                                                                      Division 99
                                        June 10, 2015
                                        February 24, 2022
                                                                                                                                    Electronically Filed - St Louis County - February 24, 2022 - 10:28 AM
              Case: 4:22-cv-00368-MTS Doc. #: 1-1 Filed: 03/30/22 Page: 12 of 23 PageID #: 18

In the
CIRCUIT COURT                                                                                   ┌                               ┐
                                                                                                        For File Stamp Only
Of St. Louis County, Missouri
                                                         February 7, 2022
                                                        _________________________
 Doris Polansky
__________________________________________              Date
Plaintiff/Petitioner
                                                         22SL-CC00720
                                                        _________________________
                                                        Case Number
vs.
                                                         14
                                                        _________________________
 Menard, Inc.
__________________________________________              Division

                                                                                                └                               ┘
Defendant/Respondent




                       REQUEST FOR APPOINTMENT OF PROCESS SERVER
        Comes now _______________________________________________________,
                   Plaintiff Polansky                                      pursuant
                                               Requesting Party
        to Local Rule 28, and at his/her/its own risk requests the appointment of the Circuit Clerk of
        ___________________________________________________________________________
         Harmon Legal Process Service - PO Box 1794, Jefferson City, MO 65101 - 573.635.6690
        Name of Process Server                         Address                                                      Telephone

        ___________________________________________________________________________
        Name of Process Server                         Address or in the Alternative                                Telephone

        ___________________________________________________________________________
        Name of Process Server                         Address or in the Alternative                                Telephone

        Natural person(s) of lawful age to serve the summons and petition in this cause on the below
        named parties. This appointment as special process server does not include the authorization
        to carry a concealed weapon in the performance thereof.

        SERVE:                                                       SERVE:
         Menard, Inc. c/o Lawyers Incorporating Service
        ____________________________________________                 ____________________________________________
        Name                                                         Name
         221 Bolivar Street
        ____________________________________________                 ____________________________________________
        Address                                                      Address
         Jefferson City, MO 65101
        ____________________________________________                 ____________________________________________
        City/State/Zip                                               City/State/Zip

        SERVE:                                                       SERVE:
        ____________________________________________                 ____________________________________________
        Name                                                         Name
        ____________________________________________                 ____________________________________________
        Address                                                      Address
        ____________________________________________                 ____________________________________________
        City/State/Zip                                               City/State/Zip

        Appointed as requested:
        JOAN M. GILMER, Circuit Clerk                                 /s/ Alexander Wolff
                                                                     ___________________________________________
                                                                     Signature of Attorney/Plaintiff/Petitioner
                                                                      64247
                                                                     ___________________________________________
                   /s/Adam Dockery
        By ________________________________________                  Bar No.
            Deputy Clerk                                             ___________________________________________
                                                                      220 N. Broadway, Suite 720, St. Louis MO 63102
                                                                     Address
                                                                      (314) 955-1045
                                                                     ___________________________________________
        Date        2/25/2022                                        Phone No.                                   Fax No.
        ______________________________

        CCADM62-WS         Rev. 07/19
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   Case: 4:22-cv-00368-MTS Doc. #: 1-1 Filed: 03/30/22 Page: 13 of 23 PageID #: 19


Local Rule 28. SPECIAL PROCESS SERVERS

      (1) Any Judge may appoint a Special Process Server in writing in
accordance with the law and at the risk and expense of the requesting party except
no special process server shall be appointed to serve a garnishment [except as
allowed by Missouri Supreme Court Rule 90.03(a)].

            This appointment as Special Process Server does not include the
authorization to carry a concealed weapon in the performance thereof.

      (2) The Circuit Clerk may appoint a natural person other than the Sheriff to
serve process in any cause in accordance with this subsection;

             (A)    Appointments may list more than one server as alternates.

           (B) The appointment of a person other than the Sheriff to serve
process shall be made at the risk and expense of the requesting party.

            (C) Any person of lawful age, other than the Sheriff, appointed to
serve process shall be a natural person and not a corporation or other business
association.

            (D) No person, other than the Sheriff, shall be appointed to serve any
order, writ or other process which requires any levy, seizure, sequestration,
garnishment, [except as allowed by Missouri Supreme Court Rule 90.03(a)], or
other taking.

             (E) Requests for appointment of a person other than the Sheriff to
serve process shall be made on a “Request for Appointment of Process Server”
electronic form, which may be found on the Court’s Web Site,
https://wp.stlcountycourts.com > forms.

            (F) This appointment as Special Process Server does not include the
authorization to carry a concealed weapon in the performance thereof.

             SERVICE RETURN

            Any service by the St. Louis County Sheriff’s Office shall be scanned
into the courts case management system. Any service by another Sheriff or a
Special Process Server or any other person authorized to serve process shall
return to the attorney or party who sought service and the attorney shall file the
return electronically to the Circuit Clerk.


CCADM62-WS    Rev. 07/19
                                                                                                                                    Electronically Filed - St Louis County - February 24, 2022 - 10:28 AM
              Case: 4:22-cv-00368-MTS Doc. #: 1-1 Filed: 03/30/22 Page: 14 of 23 PageID #: 20

In the
CIRCUIT COURT                                                                                   ┌                               ┐
                                                                                                        For File Stamp Only
Of St. Louis County, Missouri
                                                         February 7, 2022
                                                        _________________________
 Doris Polansky
__________________________________________              Date
Plaintiff/Petitioner
                                                         22SL-CC00720
                                                        _________________________
                                                        Case Number
vs.
                                                         14
                                                        _________________________
 Menard, Inc.
__________________________________________              Division

                                                                                                └                               ┘
Defendant/Respondent




                       REQUEST FOR APPOINTMENT OF PROCESS SERVER
        Comes now _______________________________________________________,
                   Plaintiff Polansky                                      pursuant
                                               Requesting Party
        to Local Rule 28, and at his/her/its own risk requests the appointment of the Circuit Clerk of
        ___________________________________________________________________________
         Harmon Legal Process Service - PO Box 1794, Jefferson City, MO 65101 - 573.635.6690
        Name of Process Server                         Address                                                      Telephone

        ___________________________________________________________________________
        Name of Process Server                         Address or in the Alternative                                Telephone

        ___________________________________________________________________________
        Name of Process Server                         Address or in the Alternative                                Telephone

        Natural person(s) of lawful age to serve the summons and petition in this cause on the below
        named parties. This appointment as special process server does not include the authorization
        to carry a concealed weapon in the performance thereof.

        SERVE:                                                       SERVE:
         Menard, Inc. c/o Lawyers Incorporating Service
        ____________________________________________                 ____________________________________________
        Name                                                         Name
         221 Bolivar Street
        ____________________________________________                 ____________________________________________
        Address                                                      Address
         Jefferson City, MO 65101
        ____________________________________________                 ____________________________________________
        City/State/Zip                                               City/State/Zip

        SERVE:                                                       SERVE:
        ____________________________________________                 ____________________________________________
        Name                                                         Name
        ____________________________________________                 ____________________________________________
        Address                                                      Address
        ____________________________________________                 ____________________________________________
        City/State/Zip                                               City/State/Zip

        Appointed as requested:
        JOAN M. GILMER, Circuit Clerk                                 /s/ Alexander Wolff
                                                                     ___________________________________________
                                                                     Signature of Attorney/Plaintiff/Petitioner
                                                                      64247
                                                                     ___________________________________________
        By ________________________________________                  Bar No.
            Deputy Clerk                                             ___________________________________________
                                                                      220 N. Broadway, Suite 720, St. Louis MO 63102
                                                                     Address
                                                                      (314) 955-1045
                                                                     ___________________________________________
        Date                                                         Phone No.                                   Fax No.
        ______________________________

        CCADM62-WS         Rev. 07/19
                                                                                     Electronically Filed - St Louis County - February 24, 2022 - 10:28 AM
   Case: 4:22-cv-00368-MTS Doc. #: 1-1 Filed: 03/30/22 Page: 15 of 23 PageID #: 21


Local Rule 28. SPECIAL PROCESS SERVERS

      (1) Any Judge may appoint a Special Process Server in writing in
accordance with the law and at the risk and expense of the requesting party except
no special process server shall be appointed to serve a garnishment [except as
allowed by Missouri Supreme Court Rule 90.03(a)].

            This appointment as Special Process Server does not include the
authorization to carry a concealed weapon in the performance thereof.

      (2) The Circuit Clerk may appoint a natural person other than the Sheriff to
serve process in any cause in accordance with this subsection;

             (A)    Appointments may list more than one server as alternates.

           (B) The appointment of a person other than the Sheriff to serve
process shall be made at the risk and expense of the requesting party.

            (C) Any person of lawful age, other than the Sheriff, appointed to
serve process shall be a natural person and not a corporation or other business
association.

            (D) No person, other than the Sheriff, shall be appointed to serve any
order, writ or other process which requires any levy, seizure, sequestration,
garnishment, [except as allowed by Missouri Supreme Court Rule 90.03(a)], or
other taking.

             (E) Requests for appointment of a person other than the Sheriff to
serve process shall be made on a “Request for Appointment of Process Server”
electronic form, which may be found on the Court’s Web Site,
https://wp.stlcountycourts.com > forms.

            (F) This appointment as Special Process Server does not include the
authorization to carry a concealed weapon in the performance thereof.

             SERVICE RETURN

            Any service by the St. Louis County Sheriff’s Office shall be scanned
into the courts case management system. Any service by another Sheriff or a
Special Process Server or any other person authorized to serve process shall
return to the attorney or party who sought service and the attorney shall file the
return electronically to the Circuit Clerk.


CCADM62-WS    Rev. 07/19
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             IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 22SL-CC00720
 KRISTINE A KERR
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address
 DORIS POLANSKY                                                 ALEXANDER ABRAHAM WOLFF
                                                                200 NORTH BROADWAY
                                                                SUITE 700
                                                          vs.   ST LOUIS, MO 63102
 Defendant/Respondent:                                          Court Address:
 MENARD, INC.                                                   ST LOUIS COUNTY COURT BUILDING
 DBA: MENARDS                                                   105 SOUTH CENTRAL AVENUE
 Nature of Suit:                                                CLAYTON, MO 63105
 CC Pers Injury-Other                                                                                                                 (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: MENARD, INC.
                                      DBA: MENARDS
  LAWYERS INC SERVICE
  221 BOLIVAR ST
  JEFFERSON CITY, MO 65101

        COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                      which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                      above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                      file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                            SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                                     notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739, email at SLCADA@courts.mo.gov,
                                     or through Relay Missouri by dialing 711 or 800-735-2966, at least three business days in advance of the court
      ST. LOUIS COUNTY               proceeding.
                                        25-FEB-2022                                            ______________________________________________
                                         Date                                                                       Clerk
                                       Further Information:
                                       AD
                                                             Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
          _____________________________________________a person at least 18 years of age residing therein.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                    _____________________________________________
                     Printed Name of Sheriff or Server                                                    Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________             _____________________________________________
                                                                          Date                                        Notary Public




OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 22-SMCC-1729         1    (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                         54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
            Case: 4:22-cv-00368-MTS Doc. #: 1-1 Filed: 03/30/22 Page: 17 of 23 PageID #: 23
     Sheriff’s Fees, if applicable
     Summons                       $
     Non Est                       $
     Sheriff’s Deputy Salary
     Supplemental Surcharge        $   10.00
     Mileage                       $                   (______ miles @ $.______ per mile)
     Total                         $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.




OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 22-SMCC-1729    2    (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                    54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
            Case: 4:22-cv-00368-MTS Doc. #: 1-1 Filed: 03/30/22 Page: 18 of 23 PageID #: 24
                        THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                    Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



Purpose of Notice

   As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible. A settlement reduces the expense and
inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

Your Rights and Obligations in Court Are Not Affected By This Notice

    You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. In some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A RESPONSE
ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

Alternative Dispute Resolution Procedures

   There are several procedures designed to help parties settle lawsuits. Most of these procedures
involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

    (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.

   (2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.


CCADM73



OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 22-SMCC-1729   3   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
           Case: 4:22-cv-00368-MTS Doc. #: 1-1 Filed: 03/30/22 Page: 19 of 23 PageID #: 25
   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 105 South Central Ave., 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




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OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 22-SMCC-1729   4   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
         Case: 4:22-cv-00368-MTS Doc. #: 1-1 Filed: 03/30/22 Page: 20 of 23 PageID #: 26




               County Satellite Court Now Open in St. Ann
               Hours: Mon-Fri 8:30 a.m. to 5:00 p.m. FREE PARKING

For the convenience of North County residents, a satellite branch of the St. Louis County Circuit
Court is now open at the St. Louis County Government Center Northwest at the 715 Northwest Plaza
Drive in St. Ann.
Attending Court Hearings Remotely using E-Courts
If you are scheduled to appear in court, you can access the courtroom remotely using the public
computer stations (E-courts) in St. Ann and Clayton. These are available for use when courtroom
access is restricted due to the pandemic.
Please note: Hearings for juvenile and paternity cases are confidential, and can only be accessed
from the Clayton E-court at this time.

Be sure to bring your paperwork with you; you will need your case number, as well as the date,
time and number of the Division where you are scheduled to appear.

Filing Pleadings/New Petitions
If you are representing yourself, you may file your paperwork at the St. Ann satellite court, in
addition to the Clayton courthouse, using the secure drop box located inside the Court reception area.
Filing Orders of Protection
Starting March 1, you may file for an Order of Protection at the Adult Abuse office in the St. Ann
satellite court, in addition to the Clayton courthouse. Clerks will be available on-site to help you fill
out and file the necessary paperwork.

                            For more information call: 314-615-8029
                                                                                  Electronically Filed - St Louis County - March 24, 2022 - 05:09 PM
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3/29/22, 4:22 Case:
              PM       4:22-cv-00368-MTS Doc. #: 1-1   Filed:
                                                  Case.net:     03/30/22
                                                            22SL-CC00720     Page:
                                                                         - Docket       22 of 23 PageID #: 28
                                                                                  Entries




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                       22SL-CC00720 - DORIS POLANSKY V MENARD, INC. ET AL (E-CASE)

    FV File Viewer


 Click here to eFile on Case                 Sort Date Entries:                         Display Options:
                                                                Descending                                 All Entries
 Click here to Respond to Selected Documents
                                                                            Ascending


  03/24/2022           Notice of Service
                       Return of Service.
                         Filed By: ALEXANDER ABRAHAM WOLFF

  02/25/2022           Summons Issued-Circuit
                       Document ID: 22-SMCC-1729, for MENARD, INC.. Summons Attached in PDF Form for Attorney to
                       Retrieve from Secure Case.Net and Process for Service.

  02/24/2022           Motion Granted/Sustained
                       REQUEST FOR SPECIAL PROCESS SERVER APPROVED SO ORDERED: JUDGE KERR
                         Associated Entries: 02/07/2022 - Request Filed
                       Note to Clerk eFiling
                           Filed By: ALEXANDER ABRAHAM WOLFF
                       Motion Special Process Server
                       Request for Special Process Server.
                         Filed By: ALEXANDER ABRAHAM WOLFF

  02/07/2022           Note to Clerk eFiling
                           Filed By: ALEXANDER ABRAHAM WOLFF
                       Request Filed
                       Request for Special Process Server.
                         Filed By: ALEXANDER ABRAHAM WOLFF
                         Associated Entries: 02/24/2022 - Motion Granted/Sustained

  02/04/2022           Judge/Clerk - Note
                       NO SUMMONS ISSUED DUE TO INCORRECT SPECIAL PROCESS SERVER FORM BEING FILED.
                       THE SPECIAL PROCESS SERVER FORM MUST BE THE SAINT LOUIS COUNTY APPROVED
                       FORM. ONCE CORRECT SPS FORM IS FILED, THE SUMMONS CAN BE ISSUED. Per Local Rule
                       28 (E), you must submit the "Request for Appointment of Process Server" form, which can be found on
                       the St. Louis County Court's Web Site.
                       Filing Info Sheet eFiling

  01/28/2022           Filing Info Sheet eFiling
                           Filed By: ALEXANDER ABRAHAM WOLFF
                       Note to Clerk eFiling
                           Filed By: ALEXANDER ABRAHAM WOLFF
                       Motion Special Process Server

https://www.courts.mo.gov/casenet/cases/searchDockets.do                                                                     1/2
3/29/22, 4:22 Case:
              PM      4:22-cv-00368-MTS Doc. #: 1-1   Filed:
                                                 Case.net:     03/30/22
                                                           22SL-CC00720     Page:
                                                                        - Docket       23 of 23 PageID #: 29
                                                                                 Entries
                      Motion for Process Server and Summons.
                        Filed By: ALEXANDER ABRAHAM WOLFF
                        On Behalf Of: DORIS POLANSKY
                      Pet Filed in Circuit Ct
                      Petition; CONFIDENTIAL Information Filing Sheet.
                         Filed By: ALEXANDER ABRAHAM WOLFF
                      Judge Assigned
 Case.net Version 5.14.50                                  Return to Top of Page                   Released 03/10/2022




https://www.courts.mo.gov/casenet/cases/searchDockets.do                                                            2/2
